Case 6:95-cv-00024-JB-KBM Document 1485-7 Filed 11/18/21

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October 21, 2019

Alexandra Freedman Smith

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McClendon, Jimmy, et al. v. City of Albuquerque, et al.

CIV 95-24 JP/KBM

Re:

Dear Ms. Smith:

Page 1 of 2

Luis Robles

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"Also admitted in Texas
**Also admitted in Washington, D.C.
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VIA E-MAIL ONLY

The purpose of this letter is to respond to your request for documents regarding
lockdowns set forth in your September 3, 2019 memorandum regarding your August 27,

2019 site visit.

Your memorandum stated:

We continue to receive reports of lockdowns in E2 and E3 Pods.
Specifically, clients in E2 reported that they were locked down from Friday,
August 23 through Monday, August 25, 2019 and were only given time out
of their cells on Monday evening for about one and a half hours.

Clients in E3 reported similarly that they were locked down from Friday
through Monday and only had time out of their cells for a little while on
Sunday night. Clients reported that the amount of time out of their cells did
not provide all of them enough time to shower. Clients in E3 reported not
receiving any response when they pushed their call buttons while locked
down over the weekend whether or not there was a CO on the pod. Please
provide the pod logs for E2 and E3 for 8/20/19 through 8/27/2019, Please
also provide documentation of review of the functionality of the call panel
system within the last two months.

Enclosed please find the following documents: 1) Pod Logs; 2) Intercom list.

 

EXHIBIT 7

 

 

 
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Alexandra Freedman Smith
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These pods were on lockdown due to staffing. However, the pod logs show staff
was responsive to inmates’ needs, taking several to medical upon request.

As noted in the intercom list, every call button was examined. The majority were
working, however, those that were not have since been repaired. As discussed at the
monthly access meetings, MDC is currently working to address the call buttons to ensure
Master Control responds when the officer is out of the pod.

All responsive documents have been provided. Please close out this request.

Thank you for your attention to this matter, If you have any questions or concerns,
please let me know.

 

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Taylor S. Rahn

TSR

Enclosures: As stated.

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